Form FIND
                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of California

In    Beamreach Solar, Inc.                                 Case No.: 17−50307 MEH 7
Re:
   aka Beachreach Solar, Inc.                    Chapter: 7
   aka Soltaix, Inc.
   aka Soltaix LC
   aka Solexel GmbH
   aka Solexel International
   aka Solexel, Inc.
   aka Solexel (M) SDN. BHD.
        Debtor(s)


                                                 FINAL DECREE



The estate of the above named debtor has been fully administered.

   The deposit required by the plan has been distributed.

IT IS ORDERED THAT:

   Kari Bowyer is discharged as trustee of the estate of the above−named debtor and the
bond is canceled.

   the chapter 7 case of the above−named debtor is closed;

and

   Other




Dated: 4/3/17                                     By the Court:


                                                  M. Elaine Hammond
                                                  United States Bankruptcy Judge




      Case: 17-50307        Doc# 26      Filed: 04/03/17      Entered: 04/03/17 10:21:50   Page 1 of 1
